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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                       Defendant .

                    SUPPLEMENTAL EXHIBITS TO ECF NO. 361

       On September 27, 2024, I filed ECF No. 361, which was a reply related to my Second

Motion to Compel Discovery on the Man who Pushed me into the Capitol (ECF No. 351), and

the government’s response to that motion (ECF No. 359). This supplement includes exhibits that

I forgot to attach to ECF No. 361.

       Exhibit 1 is the March 26, 2024, transcript from the Lavrenz trial (23-cr-00066-ZMF,

Document No. 78). In this supplement, I am also including a transcript from March 27, 2024, of

the Lavrenz trial as Exhibit 2. This details the government reporting back on the Guandolo 302.

       Respectfully submitted to the Court,

                                                    By: William Pope

                                                       /s/


                                                    William Pope
                                                    Pro Se Officer of the Court
                                                    Topeka, Kansas
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                                       Certificate of Service
I certify a copy of this was filed electronically for all parties of record on September 28, 2024.
                                                 /s/
                                 William Alexander Pope, Pro Se
